(Rev. 10/2024)
                          Case 2:21-cv-00799-RSM                          Document 438                  Filed 03/21/25               Page 1 of 1



                                       United States District Court – Western District of Washington
                                                       TRANSCRIPT ORDER FORM


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                          2:21-cv-00799-RSM
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                                                                             Case Name: ____________________________________________

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